
Cranch, C. J.,
delivered the opinion of the Court. This is an indictment for an assault and battery, to which there is a general demurrer, on the ground that the name of a prosecutor, &amp;c., was not written at the foot of the indictment before it was presented to the grand jury. The words of the 24th section of the law are : “And the name and surname of the prosecutor, and the town or county in which he shall reside, with his title or profession, shall be written at the foot of every bill of indictment for any trespass or misdemeanor, before it be presented to the grand jury.” But the act does not say what shall be the consequence of an omission to comply with the command. It does not say that the indictment shall be quashed or dismissed, nor impose any penalty, or create any disability in the indictment; it does not say that such omission shall vitiate the indictment or render it void. But if it is made a necessary part of an indictment, perhaps the want of the name may be taken advantage of on general demurrer.
The question, then, will be, whether it be a necessary part of every indictment for a trespass or misdemeanor, that the name of the prosecutor, &amp;c., should be written at its foot. If the words of this section are construed strictly, and if the omission to write the. name of the prosecutor vitiates and renders void the indictment, then it is not in the power of government, nor of the grand jury, to prosecute an offender who has been guilty of the grossest misdemeanor, unless some individual person will become prosecutor, and make himself responsible for costs. For the words of the law are, “every bill of indictment for a trespass or misdemeanor.” The grand jury could not find a bill even on their own knowledge, although bound to do so by their oath. The Court could not order a bill to be sent to the grand jury even for the most aggravated trespass or misdemeanor. It would be, as has been justly observed in the argument, to subject the whole authority of government as to the whole penal code, (excepting the case of *326felony,) to the will of an individual. The 38th section speaks of the prosecutor in all offences, not capital, and authorizes the Court to compel the prosecutor to find security for costs. There seems, therefore, not more reason for supposing that the legislature meant to require a prosecutor in all cases not capital, than in those of trespass and misdemeanor only. The phraseology, also, of the Act of 1795, (p. 346, § 2,) countenances the suggestion, that the legislature did not mean to require a prosecutor to every indictment for a trespass or misdemeanor.. It supposes the case that such an indictment may be found by a grand jury, upon the knowledge of two of their own body, or upon the testimony of a witness called upon by them, or by the Court, and then goes on to enact that the names of such witnesses shall be indorsed on the indictment, but provides that they shall not thereby be subjected to costs.
This shows, that by the .first act, a prosecutor was not always necessary, and even if he was, yet by the Act of 1795, there were three cases in which no prosecutor was required. If, then, it be not necessary that the name of a prosecutor should be indorsed on every indictment for a trespass or misdemeanor, the mere want of such indorsement is not a good ground of general demurrer. Besides, it does not appear that the witnesses, whose names are indorsed on the indictment, were not called upon by the grand jury, or the Court. By their names being indorsed, it is to be presumed that they were so called upon, because it is not necessary that in any other case their names should be indorsed. If they were thus called upon, it seems to be a fair inference, from the Act of 1795, that no prosecutor was required.
But it is said that the Act of January 28, 1802, (p. 431,) contains evidence of a legislative construction of the Act of 1792, (pp. 102, 105,) and that such construction is to be respected, although the Act of 1802 itself is not in force in the District of Columbia.
The answer to this is, that it is the province of the judiciary, and not of the legislature, to declare what the law is or has been. The legislature can only say what it shall be. A subsequent declaration by a legislature of the meaning of a prior law, cannot alter that law as to past cases. It cannot give to the law any other construction than that which would have been fairly given by the judicial department. But the preamble of ,the Act of 1792, says only, that there have been doubts as to the construction, for the removing whereof, &amp;c., which must mean, for the future. If it was intended as an ex post facto, or rather a retrospective law, it cannot operate here, because subsequent to our separation from Virginia; if it is only evidence of a legislative *327construction, it is not more binding on the judiciary, than if it had been an executive construction. It is not, in fact, evidence of any legislative construction ; it is only evidence of the existence of doubts in the mind of some person or persons; and even those doubts cannot be supposed to extend farther than the remedy which the legislature applied, which was only to the ease of an indictment founded upon a presentment made on the knowledge of the grand jury, or of two of their members. Nothing, therefore, can be inferred from the Act of 1802.
The words of the Act of 1792, are not that the name of “ a prosecutor,” but, the name of “ the prosecutor.” By thus using the definite article, the legislature must be presumed to speak of some particular prosecutor. The-question which naturally occurs upon the words “ the prosecutor,” is, what prosecutor ? The answer must be, the person who voluntarily goes before the grand jury with his complaint. Before, therefore, you can require that the name of such a prosecutor should be written at the foot of the indictment, you must show his existence: You must show that there was some person who voluntarily complained to the grand jury. Even then it seems doubtful whether a general demurrer would be the mode of taking advantage of the omission.
A general demurrer admits the fact, that the traverser did assault and beat the person named in the indictment. The offence is legally, substantially, and technically set forth. The facts stated in the indictment are all well pleaded, and therefore are all admitted by the demurrer. It would be a strange construction of the act, which would suppose that the legislature intended that the traverser, after confessing himself guilty, should avail himself of a provision which was only to enure to his benefit in case of his innocence. It seems to the Court, that the only mode of taking advantage of the omission, in the case where the advantage could be taken, would be by a motion to quash the indictment, grounded upon the fact apparent upon the record, or supported by affidavit, that some person (naming him) did voluntarily complain to the grand jury of the offence stated in the indictment..
